                    Case 21-40002            Doc 1       Filed 01/05/21 Entered 01/05/21 11:39:36                              Desc Main
                                                           Document     Page 1 of 15

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Community Intervention Services, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  200 Friberg Parkway
                                  Westborough, MA 01581
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Worcester                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://communityinterventionservices.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 21-40002                Doc 1        Filed 01/05/21 Entered 01/05/21 11:39:36                                   Desc Main
                                                                Document     Page 2 of 15
Debtor    Community Intervention Services, Inc.                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5511

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See attached schedule of affiliate cases                        Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                    Case 21-40002            Doc 1        Filed 01/05/21 Entered 01/05/21 11:39:36                                 Desc Main
                                                            Document     Page 3 of 15
Debtor   Community Intervention Services, Inc.                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Case 21-40002   Doc 1   Filed 01/05/21 Entered 01/05/21 11:39:36   Desc Main
                          Document     Page 4 of 15
  Case 21-40002      Doc 1    Filed 01/05/21 Entered 01/05/21 11:39:36   Desc Main
                                Document     Page 5 of 15



Schedule of Affiliate Cases

      Community Intervention Services, Inc. [Lead Case]
      Community Intervention Services Holdings, Inc.
      South Bay Mental Health Center, Inc.
      Futures Behavior Therapy Center, LLC
   Case 21-40002        Doc 1    Filed 01/05/21 Entered 01/05/21 11:39:36          Desc Main
                                   Document     Page 6 of 15



                                SECRETARY’S CERTIFICATE


        I, Steven Loose, hereby certify that:

        1.      I am the Secretary of Community Intervention Services, Inc. (the “Company”), a

corporation organized under the laws of the State of Delaware.

        2.      On December 23, 2020, the Company conducted a special meeting of its board of

directors at which the board of directors, acting in accordance with the Company’s articles of

organization and by-laws and the governing provisions of Delaware corporate law, voted to

adopt the resolutions set forth on attached Exhibit A (the “Resolutions”).

        3.      The Resolutions have not been modified or rescinded in any respect, and remain

in full force and effect.




Dated: January 5, 2021                               ________________________________
                                                     Steven Loose, Secretary
Case 21-40002     Doc 1     Filed 01/05/21 Entered 01/05/21 11:39:36            Desc Main
                              Document     Page 7 of 15



                                       Exhibit A

   RESOLVED: That Community Intervention Services, Inc. (the “Company”) commence
             a case under Chapter 11 of the United States Bankruptcy Code (the
             “Chapter 11 Case”) with the United States Bankruptcy Court for the
             District of Massachusetts (the “Court”) to facilitate a sale of certain of its
             assets (together with substantially all of the assets of South Bay Mental
             Health Center, Inc.) free and clear of liens, claims and interests and to
             address its obligations, and the obligations of its affiliates, to its creditors;

   FURTHER
   RESOLVED: That the Company, acting in its capacity as sole member of Futures
             Behavior Therapy Center, LLC (“Futures”), cause Futures to commence a
             case under Chapter 11 of the United States Bankruptcy Code (the “Futures
             Chapter 11 Case”) with the Court to facilitate a sale of substantially all of
             Futures’ assets free and clear of liens, claims and interests and to address
             its obligations to its creditors;

   FURTHER
   RESOLVED: That the Company and Futures each be, and is hereby authorized: (i) to
             prepare and file a petition for relief under Chapter 11 of the Bankruptcy
             Code; (ii) to file such petition, schedules and statements as may be
             necessary or appropriate in connection therewith; (iii) to perform its
             functions and duties as a debtor-in-possession pursuant to the applicable
             provisions of the Bankruptcy Code; (iv) to take such steps as may be
             necessary or appropriate to its Chapter 11 including, without limitation,
             negotiating or otherwise obtaining court authority for use of cash
             collateral, post-petition financing, the assumption or rejection of executory
             contracts and unexpired leases, the sale or other disposition of property
             other than in the ordinary course of business, and the investigation and
             prosecution of claims and causes of action held by its bankruptcy estate;
             (v) to negotiate, prepare and propose to creditors such Chapter 11 plan as
             may be feasible and in its and such creditors’ best interests, or
             alternatively, to seek dismissal or conversion to Chapter 7 of the
             itsChapter 11 case in appropriate circumstances; (vi) to file any pleading
             appropriate or necessary in furtherance of the foregoing; and (vii) to
             execute such further documents and do such further acts as may be
             necessary or appropriate with respect to the foregoing;

   FURTHER
                  RESOLVED: That the Company be and is hereby authorized to enter into
                  that certain Asset Purchase Agreement expected to be executed on or
                  about December 28, 2020 with SB Transitional Sub, LLC (the “SB
                  Purchaser”), pursuant to which the SB Purchaser has agreed to purchase
                  certain of the assets of the Company (together with substantially all of the
                  assets of South Bay Mental Health Center, Inc.) for a purchase price of


                                            1
Case 21-40002     Doc 1    Filed 01/05/21 Entered 01/05/21 11:39:36           Desc Main
                             Document     Page 8 of 15



                  $32,000,000, subject to the approval of the Bankruptcy Court in the
                  Chapter 11 Case (the “SB/CIS APA”);

   FURTHER
   RESOLVED: That the Company be and is hereby authorized to cause Futures to enter
             into that certain Asset Purchase Agreement expected to be executed on or
             about December 28, 2020 with FBTC Transitional Sub, LLC (the “Futures
             Purchaser”), pursuant to which the Futures Purchaser has agreed to
             purchase substantially all of the assets of Futures for a purchase price of
             $7,500,000, subject to the approval of the Bankruptcy Court in the Futures
             Chapter 11 Case (the “Futures APA”);

   FURTHER
   RESOLVED: That the Company and Futures each be and is hereby authorized to retain
             the law firm of Casner & Edwards, LLP (“Casner”) and Michael J.
             Goldberg, Esq., of that firm as counsel under general retainer to advise
             and represent such company in all proceedings commenced under or
             resulting from these resolutions, that each company compensate Casner
             for its services at its hourly rates in effect at the time such services are
             rendered, provided that each company may agree to pay a premium over
             or obtain a discount from such hourly rates by subsequent agreement with
             Casner, and to reimburse Casner in full for its cash disbursements and for
             such expenses as Casner customarily bills to its clients, and that such
             company is hereby authorized to enter into such agreements as may be
             necessary or appropriate to effect such retention;

   FURTHER
   RESOLVED: That the Company and Futures each be and is hereby authorized to retain
             the financial advisory and turnaround consulting firm of Getzler Henrich
             & Associates LLC (“Getzler”) and David Campbell of that firm as
             financial advisor and turnaround consultant under general retainer to
             advise such company in all matters relating to the proceedings commenced
             under or resulting from these resolutions, that each company compensate
             Getzler for its services at its hourly rates in effect at the time such services
             are rendered, provided that each Company may agree to pay a premium
             over or obtain a discount from such hourly rates by subsequent agreement
             with Getzler, and to reimburse Getzler in full for its cash disbursements
             and for such expenses as Getzler customarily bills to its clients, and that
             each company is hereby authorized to enter into such agreements as may
             be necessary or appropriate to effect such retention;

   FURTHER
   RESOLVED: That the Company and Futures each be and is hereby authorized to retain
             the investment banking firm Duff & Phelps Securities, LLC (“D&P”) and
             Eric Coburn of that firm as investment banker to advise the Company and
             Futures and to pursue on the Company’s behalf such Sale Transaction, that


                                           2
Case 21-40002    Doc 1    Filed 01/05/21 Entered 01/05/21 11:39:36         Desc Main
                            Document     Page 9 of 15



                 the Company and Futures compensate D&P for its services and
                 reimbursable expenses on such terms and conditions as each such
                 company deems appropriate, and that each such company is hereby
                 authorized to enter into such agreements as may be necessary or
                 appropriate to effect such retention.

   FURTHER
   RESOLVED: That Andrew Calkins, Chief Executive Officer of the Company, and
             Matthew Lesniewski, Chief Financial Officer of the Company (each, an
             “Authorized Officer”), acting singly, be and hereby are authorized and
             directed, in the name of and on behalf of the Company or Futures, as
             applicable, and as its corporate act, to execute and deliver any and all
             documents, to make all such arrangements, to do and perform all such acts
             and things, to execute and deliver all such certificates and other
             instruments, and to do everything that each may deem necessary or
             appropriate in order to implement fully each and all of the foregoing
             resolutions, including the delegation of such foregoing authority to other
             officers and employees of the Company and Futures or to attorneys,
             financial advisors, accountants, or other professionals employed by the
             Company, the execution of any document or the doing of any act by the
             Authorized Officer or any such delegate in connection with such
             proceedings to be conclusively presumed to be authorized by this
             resolution; and

   FURTHER
   RESOLVED: That any action previously taken by the Authorized Officers in accordance
             with the foregoing resolutions be and hereby is ratified and approved in its
             entirety.




                                          3
Case 21-40002   Doc 1   Filed 01/05/21 Entered 01/05/21 11:39:36   Desc Main
                         Document     Page 10 of 15
                      Case 21-40002                    Doc 1         Filed 01/05/21 Entered 01/05/21 11:39:36                                      Desc Main
                                                                      Document     Page 11 of 15

 Fill in this information to identify the case:
 Debtor name Community Intervention Services, Inc. ,et. al (Jointly Administered cases)
 United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS                                                                                    Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Benefit Street                  Michael Frick                   Loans                                                                                              $30,616,650.12
 Partners
 50 Kennedy Plaza                BSP-info@benefits
 Providence, RI                  treepartners.com
 02903                           212-588-6769
 OFS Capital                     Bradley Forest    Loans                                                                                                            $13,121,421.48
 Management
 10 S. Wacker Drive,
 Suite 2500                      bforrest@ofsmana
 Chicago, IL 60606               gement.com
                                 646-652-8488
 Capital One,                    Ivan Medarov                    Loans                                         $48,708,644.51             $39,500,000.00              $9,208,644.51
 National
 Association                     ivan.medarov@cap
 as agent for itself             italone.com
 and Fifth Third Bank            301-634-3214
 2 Bethesda Metro
 Cente
 PO BOX 7410110
 Bethesda, MD 20814
 Massachusetts                   Mike Levine                     Trade debts                                                                                          $7,806,697.00
 Executive Office of
 Health                          mike.levine@state.
 and Human Services              ma.us
 1 Ashburton Place               857-278-1193
 Boston, MA 02108
 McDermott Will &                Harris C. Siskind               Vendor                                                                                               $6,068,193.02
 Emery LLP                       P.A.
 333 Avenue of the
 Americas                        hsiskind@mwe.co
 Suite 300                       m
 Miami, FL 33131                 305-347-6555
 H.I.G Growth                    Steve Loose                     Fees / Expenses                                                                                      $5,245,414.50
 Partners                                                        for PE Sponsor
 500 Bolyston Street             sloose@higgrowth.
 Boston, MA 02116                com



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                      Case 21-40002                    Doc 1         Filed 01/05/21 Entered 01/05/21 11:39:36                                      Desc Main
                                                                      Document     Page 12 of 15


 Debtor    Community Intervention Services, Inc. ,et. al (Jointly Administered cases)                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 H.I.G Growth                    Steve Loose                     Junior Debt                                                                                          $2,177,836.72
 Partners                                                        Provider
 500 Bolyston Street             sloose@higgrowth.
 Boston, MA 02116                com
 State of MA Office of           Kevin Lownds      Debts                                                                                                              $1,820,000.00
 Attorney General
 1 Ashburton Place               kevin.lownds@stat
 Boston, MA 02108                e.ma.us
                                 617-963-2227
 Goodwin Procter                 Michael Caplan    Vendor                                                                                                               $928,840.71
 LLP
 100 Northern                    Mcaplan@goodwin
 Avenue                          law.com
 Boston, MA 02210
 Internal Revenue                                                Taxes                                                                                                  $846,090.94
 Service
 P.O. Box 7346                   800-973-0424
 Philadelphia, PA
 19101-7346
 CBIZ CMF                        Don Agee                        Vendor                                                                                                 $169,000.00
 Associates
 325 Chestnut Street,            dagee@cmfassocia
 Suite 410                       tes.com
 Philadelphia, PA                215-531-7500
 19160
 LEGACY                          Heather Hamilton                Landlord                                                                                                 $62,265.47
 HERITAGE, LLC
 c/o EASTPORT
 REAL ESTATE                     781-890-5855
 SERVICES
 107 Audubon Road,
 Suite 2-301
 Wakefield, MA 01880
 Northeast Arc Inc.              Anne Dolan                      Vendor                                                                                                   $45,000.00
 1 Southside Road
 Danvers, MA 01923
                                 978-522-5417
 RLDatix                         Charisse de                     Vendor                                                                                                   $35,310.00
 1 Yonge Street Suite            Souza-Pincente
 2300
 Toronto Ontario
 M5E 1E5                         416-410-8456 x304
 CANADA
 Behavioral                      Tanya Rowe                      Vendor                                                                                                   $13,200.00
 Concepts Inc.
 345A Greenwood St               tanya.rowe@learnb
 Worcester, MA                   ehavioral.com
 01607
 Beacon ABA                                                      Vendor                                                                                                     $8,000.00
 Services, Inc.                  beaconspecialtyser
 321 Fortune Blvd.               vices@hsmc.org
 Milford, MA 01757               508-478-0207


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                      Case 21-40002                    Doc 1         Filed 01/05/21 Entered 01/05/21 11:39:36                                      Desc Main
                                                                      Document     Page 13 of 15


 Debtor    Community Intervention Services, Inc. ,et. al (Jointly Administered cases)                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Visual Lease                    Kerilyn McAndrews Vendor                                                                                                                   $7,500.00
 100 Woodbridge
 Center Drive                    Kmcandrews@visu
 Suite 200                       allease.com
 Woodbridge, NJ                  732-596-8110 x468
 07095
 Christine                       Jeffrey A. Newman, Whistleblower                       Contingent                                                                                $0.00
 Martino-Fleming                 Esq.               lawsuit                             Unliquidated
 c/o Jeffrey Newman                                                                     Disputed
 Law                             jeffrey.newman1@
 One Story Terrace               gmail.com
 Marblehead, MA                  617-823-3217
 01945
 Christopher                     Joseph Jenkins,                 Landlord                                                                                                         $0.00
 F. Egan and Marc R              Esq.
 Verreault
 Westboro Two LLC
 116 Flanders Road,              508-898-3900
 Suite 2000
 Westborough, MA
 01581




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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Case 21-40002   Doc 1   Filed 01/05/21 Entered 01/05/21 11:39:36   Desc Main
                         Document     Page 14 of 15
                 Case 21-40002                    Doc 1          Filed 01/05/21 Entered 01/05/21 11:39:36               Desc Main
                                                                  Document     Page 15 of 15



                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Community Intervention Services, Inc.                                                       Case No.
                                                                                 Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Community Intervention Services, Inc. in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:
 Community Intervention Services Holdings, Inc.
 200 Friberg Parkway
 Westborough, MA 01581
 H.I.G. Growth Partners-CIS, LLC
 500 Boylston Street
 20th Floor
 Boston, MA 02116




    None [Check if applicable]




 January 5, 2021                                                     /s/ Michael J. Goldberg
 Date                                                                Michael J. Goldberg 551869
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Community Intervention Services, Inc.
                                                                     Casner & Edwards, LLP
                                                                     303 Congress Street
                                                                     Boston, MA 02210
                                                                     617-426-5900 Fax:617-426-8810
                                                                     goldberg@casneredwards.com




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